                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 In re: SIMPLICITY CATERERS, LLC     )
                                     )                         Case No.: 19-82798-CRJ-11
                                     )
                                     )
       Debtor.                       )                         CHAPTER 11
 ____________________________________)

     ORDER APPROVING DEBTOR’S MOTION FOR FINAL AUTHORITY TO USE
                         CASH COLLATERAL

         This matter came before the Court for hearing upon the Debtor’s Motion for Final
 Authority to Use Cash Collateral (Doc. 8) (the “Motion”). After proper notice, a hearing was held
 on October 9, 2019 with appearances by Tazewell T. Shepard IV on behalf of the Debtor and
 Richard M. Blythe on behalf of the Bankruptcy Administrator, and Richard O’Neal on behalf of
 the Department of the Treasury, Internal Revenue Service (“IRS”).

         Upon due consideration of the pleadings, and in light of the representations of the parties
 at the hearing, the Court hereby finds as follows:

        A.    Notice and Hearing. Notice of the Motion and this hearing has been served in
 accordance with 11 U.S.C. § 102(1) and Rule 4001(b) of the Federal Rules of Bankruptcy
 Procedure.

        B.      Cash Collateral. As used herein, “Cash Collateral” means cash collateral described
 and defined in 11 U.S.C. § 363(a), which includes all proceeds, products, offspring, rents, or profits
 generated from the Debtor’s accounts receivable, cash, or cash-equivalents (the “Cash Collateral”).

         C.      Necessity and Best Interest. The Debtor does not have sufficient unencumbered
 cash or other assets with which to continue to operate its business in this Chapter 11 bankruptcy
 case. The Debtor requires immediate authority to use Cash Collateral to continue its business
 without interruption. Debtor’s use of Cash Collateral to the extent and on the terms and conditions
 set forth herein is necessary to avoid immediate and irreparable harm to the estate.

        NOW, THEREFORE it is hereby ORDERED, ADJUDGED and DECREED as
 follows:

        1.      The Motion is APPROVED on a final basis.

         2.      Adequate Protection. The IRS is hereby granted replacement liens in the Debtor’s
 post-petition assets, and proceeds of same, to the same extent, priority and validity as its pre-
 petition liens.




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         3.      Perfection of Replacement Liens; Priority of Liens. The security interests
 granted in this Order are deemed perfected without the necessary filing or execution of documents
 which might otherwise be required under non-bankruptcy law for the perfection of said security
 interests. Such security interest and perfection shall be binding, to the extent that the post-petition
 liens granted herein replace properly perfected pre-petition liens, upon any subsequently appointed
 trustee either in Chapter 11 or any other Chapter of the Title 11 of the U.S. Code and upon all
 creditors of the Debtor who have extended or who may hereafter extend credit to the Debtor or the
 Debtor-in-possession.

        4.      Turnover of Cash Collateral in the Possession of IRS. The IRS is currently in
 possession of $72,747.25 of Cash Collateral owed to the Debtor after the bankruptcy petition date.
 The IRS has agreed and is hereby ORDERED to turnover $37,691.14 of this Cash Collateral to
 the Debtor by October 12, 2019 and the remaining $35,056.11 of this Cash Collateral to the Debtor
 by October 21, 2019.

        5.       The Debtor is hereby authorized to use its Cash Collateral in accord with the budget
 attached to the Motion.


        Dated this the 11th day of October, 2019.


                                                        /s/ Clifton R. Jessup, Jr.
                                                        Clifton R. Jessup, Jr.
                                                        United States Bankruptcy Judge




 Prepared by:                                                   Approved by:
 Tazewell T. Shepard IV                                         Richard E. O’Neal
 Attorney for Debtor                                            Assistant U.S. Attorney




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